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                                                      Malachi Mickelonis, Joseph Afilani,
                                                 6    Jacob Alva-Melville, Micaiah Flores,
                                                      Matthew Gorka, Jared Hilliard,
                                                 7    Charles Kirk, David Kirkland,
                                                      Yale Liebowitz, Jacob Mueller,
                                                 8    Kevin Munoz, Colebie Niedermeier,
                                                      Joshua Palmer, Bryce Phillips,
                                                 9    Christopher Sousa, Rolando Vazquez,
                                                      Adrian Villa, and Nicholas Yee
                                                 10
                                                 11
                                                                          UNITED STATES DISTRICT COURT
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                                                                         CENTRAL DISTRICT OF CALIFORNIA
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                                                 14
                                                    Malachi Mickelonis, Joseph            ) Case No.: 8:23-cv-01220-FWS-ADS
                                                 15 Afilani, Jacob Alva-Melville,         )
                                                    Micaiah, Flores, Matthew Gorka,       ) FIRST AMENDED CLASS ACTION
                                                 16 Jared Hilliard, Charles Kirk, David   ) COMPLAINT AND DEMAND FOR
                                                    Kirkland, Yale Liebowitz, Jacob       ) JURY TRIAL
                                                 17 Mueller, Kevin Munoz, Colebie         )
                                                    Niedermeier, Joshua Palmer, Bryce     )
                                                 18 Phillips, Christopher Sousa,          )
                                                    Rolando Vazquez, Adrian Villa,        )
                                                 19 and Nicholas Yee, individually and    )
                                                    on behalf of all others similarly     )
                                                 20 situated,                             )
                                                                                          )
                                                 21                                       )
                                                                        Plaintiffs,       )
                                                 22         vs.                           )
                                                                                          )
                                                 23                                       )
                                                      Aspyr Media, Inc., and Does 1-5,    )
                                                 24                                       )
                                                                        Defendants.       )
                                                 25                                       )
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                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1          Plaintiffs Malachi Mickelonis, Joseph Afilani, Jacob Alva-Melville, Micaiah
                                                 2    Flores, Matthew Gorka, Jared Hilliard, Charles Kirk, David Kirkland, Yale
                                                 3    Liebowitz, Jacob Mueller, Kevin Munoz, Colebie Niedermeier, Joshua Palmer, Bryce
                                                 4    Phillips, Christopher Sousa, Rolando Vazquez, Adrian Villa, and Nicholas Yee
                                                 5    (“Class Representatives”), individually and on behalf of all others similarly situated,
                                                 6    by and through their attorneys, bring this First Amended Class Action Complaint
                                                 7    (“Complaint”) against Aspyr Media, Inc. (“Aspyr” or “Defendant”), and allege:
                                                 8                                 SUMMARY OF ACTION
                                                 9          1.     Class Representatives bring this action for restitution, damages,
                                                 10 penalties and injunctive relief resulting from the illegal actions of Defendant with
                                                 11 respect to certain of its production, distribution, marketing, advertising and sale of
                                                 12 “Star Wars: Knights of the Old Republic II: The Sith Lords” (“KOTOR II”).
                                                 13 Specifically, Defendant falsely represented that its video game KOTOR II would
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                                                 14 include “Restored Content DLC,” or new downloadable content providing new
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                                                 15 gaming content for users (e.g. bonus mission, new dialogue, revamped ending).
                                                 16 Defendant did not provide the Restored Content DLC but refuses to give consumers a
                                                 17 refund for their purchase of KOTOR II.
                                                 18         2.     In so doing, Defendant violated the: (i) California Unfair Competition
                                                 19 Law, Business and Professions Code § 17200 (“UCL); (ii) California False
                                                 20 Advertising Law, Business and Professions Code § 17500 (“FAL”); and (iii)
                                                 21 California Consumer Legal Remedies Act, Civil Code § 1770 et seq. (“CLRA”) and
                                                 22 other statutes prohibiting unfair and deceptive practices of various states, including:
                                                 23 Arizona, Colorado, Florida, Georgia, Illinois, Nevada, New Jersey, Ohio, Oregon,
                                                 24 South Carolina, Texas and Washington.
                                                 25                                      THE PARTIES
                                                 26         3.     Plaintiff Malachi Mickelonis (“Mickelonis”) is a consumer residing in
                                                 27 the State of California, Orange County. On November 22, 2022 Mickelonis
                                                 28 purchased KOTOR II in Orange County.
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                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1          4.    Plaintiff Joseph Afilani (“Afilani”) is a consumer residing in the State of
                                                 2    Florida. On June 2, 2022 Afilani purchased KOTOR II in Florida.
                                                 3          5.    Plaintiff Jacob Alva-Melville (“Alva-Melville”) is a consumer residing
                                                 4    in the State of Oregon. On June 3, 2022 Alva-Melville purchased KOTOR II in
                                                 5    Oregon.
                                                 6          6.    Plaintiff Micaiah Flores (“Flores”) is a consumer residing in the State of
                                                 7    Washington. On June 1, 2022, Flores purchased KOTOR II in Washington.
                                                 8          7.    Plaintiff Matthew Gorka (“Gorka”) is a consumer residing in the State of
                                                 9    Arizona. On June 12, 2022, Gorka purchased KOTOR II in Arizona.
                                                 10         8.    Plaintiff Jared Hilliard (“Hilliard”) is a consumer residing in the State of
                                                 11 South Carolina. On April 30, 2022, Hilliard purchased KOTOR II in South Carolina.
                                                 12         9.    Plaintiff Charles Kirk (“Kirk”) is a consumer residing in the State of
                                                 13 Illinois. On September 20, 2022, Kirk purchased KOTOR II in Illinois.
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                                                 14         10.   Plaintiff David Kirkland (“Kirkland”) is a consumer residing in the State
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                                                 15 of Texas. On August 21, 2022, Kirkland purchased KOTOR II in Texas.
                                                 16         11.   Plaintiff Yale Liebowitz, now known as Koros Nolan (“Nolan”), is a
                                                 17 consumer residing in the State of Colorado. On June 7, 2022, Nolan purchased
                                                 18 KOTOR II in Colorado.
                                                 19         12.   Plaintiff Jacob Mueller (“Mueller”) is a consumer residing in the State of
                                                 20 Texas. On April 27, 2022, Mueller purchased KOTOR II in Texas.
                                                 21         13.   Plaintiff Kevin Munoz (“Munoz”) is a consumer residing in the State of
                                                 22 California. On March 19, 2023, Munoz purchased KOTOR II in California.
                                                 23         14.   Plaintiff Colebie Niedermeier (“Niedermeier”) is a consumer residing in
                                                 24 the State of Ohio. On December 2, 2022, Niedermeier purchased KOTOR II in Ohio.
                                                 25         15.   Plaintiff Joshua Palmer (“Palmer”) is a consumer residing in the State of
                                                 26 Georgia. On June 1, 2022, Palmer purchased KOTOR II in Georgia.
                                                 27         16.   Plaintiff Bryce Phillips (“Phillips”) is a consumer residing in the State of
                                                 28 Florida. On June 8, 2022, Phillips purchased KOTOR II in Florida.
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                                                 1          17.    Plaintiff Christopher Sousa (“Sousa”) is a consumer residing in the State
                                                 2    of Nevada. On June 8, 2022 Sousa purchased KOTOR II in Nevada.
                                                 3          18.    Plaintiff Rolando Vazquez (“Vazquez”) is a consumer residing in the
                                                 4    State of New Jersey. On June 8, 2022, Vazquez purchased KOTOR II in New Jersey.
                                                 5          19.    Plaintiff Adrian Villa (“Villa”) is a consumer residing in the State of
                                                 6    Colorado. On June 9, 2022, Villa purchased KOTOR II in Colorado.
                                                 7          20.    Plaintiff Nicholas Yee (“Yee”) is a consumer who resided in the State of
                                                 8    Florida. On August 17, 2022, Yee purchased KOTOR II in Florida.
                                                 9          21.    Defendant Aspyr Media, Inc. (“Aspyr”) is a video game developer and
                                                 10 publisher. Aspyr produced, distributed, and sold KOTOR II. Aspyr is incorporated
                                                 11 and headquartered in Texas. It regularly advertises and sells products and does
                                                 12 business in California, all other states of the United States, and worldwide.
                                                 13         22.    Doe Defendants 1-5 are the other companies or individuals responsible
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                                                 14 for the false and deceptive advertising, marketing, distribution and sale of KOTOR II.
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                                                 15                              JURISDICTION AND VENUE
                                                 16         23.    This Court has jurisdiction over this action pursuant to the Class Action
                                                 17 Fairness Act, 28 U.S.C. § 1332(d)(1). Class Representatives bring a class action
                                                 18 under Federal Rule of Civil Procedure 23. At least one Class Representative and
                                                 19 Defendant are citizens of different states, and on information and belief, the amount
                                                 20 in controversy exceeds the sum of $5,000,000.00 and there are no less than 100 class
                                                 21 members.
                                                 22         24.    Defendant regularly conducts business within the State of California,
                                                 23 which means personal jurisdiction is established.
                                                 24         25.    Venue in this district is proper under 28 U.S.C. § 1391(b)(2) because
                                                 25 Mickelonis is a resident of Orange County and a substantial part of the events giving
                                                 26 rise to his claims occurred in this district.
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                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1                              STATEMENT OF FACTS
                                                      A.    Defendant Falsely Claims That It Will Restore And Officially Release
                                                 2
                                                            Previously Unused And Unreleased Content For KOTOR II On The
                                                 3          Nintendo Switch
                                                 4          26.    In or about 2004, an original version of KOTOR II was released on the
                                                 5    Xbox gaming console. Nearly all of the Class Representatives purchased and played
                                                 6    the game on their Xbox gaming consoles nearly two decades ago. KOTOR II on
                                                 7    Xbox was released in an incomplete and unfinished state.
                                                 8          27.    In or around March 2022, Defendant advertised KOTOR II to users of
                                                 9    the video console Nintendo Switch as having never-before officially released
                                                 10 “Restored Content DLC,” or new restored, downloadable content providing new
                                                 11 gaming content for users. See Youtube, STAR WARS™: Knights of the Old
                                                 12 Republic™ II: The Sith Lords - Announcement Trailer - Nintendo Switch, available at
                                                 13 https://www.youtube.com/watch?v=rEhYnI1MqxI (last visited on October 24, 2023);
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                                                 14 Aspyr Twitter (now known as “X”) Ad, STAR WARS™: Knights of the Old
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                                                 15 Republic™ II - The Sith Lords is out NOW on Nintendo Switch!, available at
                                                 16 https://twitter.com/AspyrMedia/status/1534566368137330690 (last visited on
                                                 17 October 24, 2023); Nintendo, STAR WARS™: Knights of the Old Republic™ II: The
                                                 18 Sith Lords, at https://www.nintendo.com/store/products/star-wars-knights-of-the-old-
                                                 19 republic-ii-the-sith-lords-switch/ (last visited on June 11, 2023).
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                                                             28.     Defendant repeatedly announced that the Restored Content DLC would be released in
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                                                      the third quarter of 2022:
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                                                 15        29.   Class Representatives and numerous other consumers were excited
                                                 16 about the release of the Restored Content DLC that Defendant had claimed in April
                                                 17 2022 was “coming soon.” In fact, KOTOR II sat at the top of Nintendo’s e-Shop
                                                 18 rankings:
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                                                                      FIRST AMENDED CLASS ACTION COMPLAINT
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                                                            30.    In 2022 and 2023, Class Representatives saw Defendant’s
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                                                      advertisements about KOTOR II and were drawn by the Restored Content DLC. As
                                                 17
                                                      a result, Class Representatives purchased KOTOR II.
                                                 18
                                                            31.    Class Representatives and countless consumers all over the world
                                                 19
                                                      anxiously awaited the release of the Restored Content DLC. Defendant went radio
                                                 20
                                                      silent about the release date.
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                                                            32.    After representing that the DLC would be released in the third quarter of
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                                                      2022, Defendant failed to meet this deadline.
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                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1          33.   More than one year later, on June 2, 2023 Defendant announced that it
                                                 2    will not release the highly anticipated Restored Content DLC for KOTOR II:
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                                                 26         34.   Specifically, Defendant stated, “Sadly, today we are announcing that the
                                                 27 Restored Content DLC for the Nintendo Switch version of Star Wars: Knights of the
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                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1    Old Republic II – The Sith Lords will not be moving forward for release.” Defendant
                                                 2    did not explain why.
                                                 3          35.   Instead, Defendant “thank[ed] everyone for their continued support by
                                                 4    providing a complimentary video game key.” (italics added). Defendant reiterated
                                                 5    that the video game key it would provide was “complimentary”: “To receive your
                                                 6    complimentary key, please visit support.aspyr.com, and submit a request with your
                                                 7    Nintendo Switch proof of purchase attached.” (italics added).
                                                 8          36.   Despite their failure to release KOTOR II’s Restored Content DLC,
                                                 9    Defendant refused to give refunds to purchasers of KOTOR II.
                                                 10         37.   Class Representatives felt completely duped and were upset because
                                                 11 they had relied on Defendant’s representations that the Restored Content DLC would
                                                 12 be included with KOTOR II. In fact, some Class Representatives did not even play
                                                 13 KOTOR II after purchasing it, instead choosing to wait until the Restored Content
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                                                 14 DLC was released. But Defendant never did. Class Representatives would
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                                                 15 potentially be interested in purchasing other games with Restored Content DLC from
                                                 16 Defendant in the future if they have the advertised content, are not deceptively
                                                 17 advertised, and accordingly priced at fair market value without being artificially
                                                 18 inflated due to the deceptive advertising.
                                                 19         38.   Numerous other consumers, like Class Representatives, were equally
                                                 20 upset as evidenced by posts found on Twitter and YouTube:
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                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 14         39.    When Class Representatives, and class members, purchased KOTOR II
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                                                 15 they believed that they were purchasing a game with Restored Content DLC. Class
                                                 16 Representatives and class members were deceived as a result of Aspyr’s actions. In
                                                 17 fact, Class Representatives and class members would not have purchased KOTOR II
                                                 18 if it were not for the misrepresentations of the aforementioned material facts. These
                                                 19 purchasing decisions were the result of the misleading, deceptive, and false
                                                 20 representations made by Defendant.
                                                 21         40.    Class Representatives suffered an “injury in fact” because their money
                                                 22 was taken by Defendant as a result of its intentional false advertising. Furthermore,
                                                 23 Class Representatives suffered an “injury in fact” by paying for something they
                                                 24 believed had content, features, and characteristics that it did not have.
                                                 25         41.    Class Representatives and class members who received a
                                                 26 “complimentary video game key” from Aspyr also suffered an injury in fact because
                                                 27 their money was taken as a result of Defendant’s false advertising, and they did not
                                                 28 receive the product they purchased. In addition, these consumers did not receive a
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                                                 1    refund. The “complimentary video game” was provided by Aspyr for free as a sign
                                                 2    of gratitude to its supporters. The free game code did not make KOTOR II
                                                 3    purchasers whole.
                                                 4          42.    Class Representatives and class members were undoubtedly injured and
                                                 5    lost money as a result of Defendant’s misleading, deceptive, fraudulent, and
                                                 6    intentionally false advertising.
                                                 7          43.    Defendant knowingly deceived consumers in order to artificially raise
                                                 8    sales revenue by selling more KOTOR II games and being able to market KOTOR II
                                                 9    at above-market prices based on qualities and features that the game simply did not
                                                 10 and would not possess.
                                                 11                               CLASS ACTION ALLEGATIONS
                                                 12         44.    Class Representatives bring this action on behalf of themselves and all
                                                 13 others similarly situated, pursuant to Federal Rule of Civil Procedure 23(b)(2) and
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                                                 14 23(b)(3) on behalf of the classes defined as follows (the “Classes”):
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                                                 15         California Class: All persons in the State of California who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 16         limitations period.
                                                 17         Arizona Class: All persons in the State of Arizona who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 18         limitations period.
                                                 19         Colorado Class: All persons in the State of Colorado who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 20         limitations period.
                                                 21         Florida Class: All persons in the State of Florida who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 22         limitations period.
                                                 23         Georgia Class: All persons in the State of Georgia who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 24         limitations period.
                                                 25         Illinois Class: All persons in the State of Illinois who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 26         limitations period.
                                                 27         Nevada Class: All persons in the State of Nevada who purchased
                                                            KOTOR II for Nintendo Switch during the relevant statute of
                                                 28         limitations period.
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                                                 1          New Jersey Class: All persons in the State of New Jersey who
                                                            purchased KOTOR II for Nintendo Switch during the relevant statute
                                                 2          of limitations period.
                                                 3          Ohio Class: All persons in the State of Ohio who purchased KOTOR
                                                            II for Nintendo Switch during the relevant statute of limitations period.
                                                 4
                                                            Oregon Class: All persons in the State of Oregon who purchased
                                                 5          KOTOR II for Nintendo Switch during the relevant statute of
                                                            limitations period.
                                                 6
                                                            South Carolina Class: All persons in the State of South Carolina who
                                                 7          purchased KOTOR II for Nintendo Switch during the relevant statute
                                                            of limitations period.
                                                 8
                                                            Texas Class: All persons in the State of Texas who purchased KOTOR
                                                 9          II for Nintendo Switch during the relevant statute of limitations period.
                                                 10         Washington Class: All persons in the State of Washington who
                                                            purchased KOTOR II for Nintendo Switch during the relevant statute
                                                 11         of limitations period.
                                                 12         45.   Excluded from the Classes are: (1) Aspyr, any entity or division in
                                                 13 which Defendant has a controlling interest, and their legal representatives, officers,
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                                                 14 directors, assigns, and successors; and (2) the Judge to whom this case is assigned
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                                                 15 and the Judge’s staff. Class Representatives reserve the right to amend or expand the
                                                 16 Class definitions to seek recovery on behalf of additional persons as warranted as
                                                 17 facts are learned in further investigation and discovery.
                                                 18        46. Class Representatives and members of the Classes were harmed by the
                                                 19 acts of Defendant by purchasing a game that did not have the content, qualities,
                                                 20 characteristics and features that Defendant advertised it had.
                                                 21         47.   Common questions of fact and law exist as to all members of the Classes,
                                                 22 which predominate over any questions affecting only Class Representatives or
                                                 23 individual members of the Class. These common legal and factual questions, which
                                                 24 do not vary between the class members, and which may be determined without
                                                 25 reference to the individual circumstances of any Class members, include, but are not
                                                 26 limited to, the following:
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                                                 1                a)   Whether, within the applicable statute of limitations periods,
                                                 2                     Defendant falsely advertised KOTOR II as having certain content
                                                 3                     and features that they did not or would not have;
                                                 4                b)   Whether Class Representatives and the class members purchased
                                                 5                     a game containing the same intentionally misleading, deceptive,
                                                 6                     false and fraudulent representations;
                                                 7                c)   Whether Class Representatives and the class members were
                                                 8                     damaged thereby, and the extent of damages for such violation;
                                                 9                d)   Whether such conduct is unlawful, unfair or fraudulent; and
                                                 10               e)   Whether Defendant is still engaging in the misconduct and should
                                                 11                    be enjoined from engaging in such conduct in the future.
                                                 12         48.   As persons who purchased KOTOR II from Defendant, Class
                                                 13 Representatives are asserting claims that are typical of the Classes.            Class
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                                                 14 Representatives and all members of the Classes sustained damages arising out of
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                                                 15 Defendant’s common course of conduct complained herein.
                                                 16         49.   The members of the Classes are so numerous that joinder of all members
                                                 17 would be unfeasible and impractical. The membership of the Classes is currently
                                                 18 unknown to Class Representatives at this time; however, given that, on information
                                                 19 and belief, Defendant sold thousands of KOTOR II games in California, Arizona,
                                                 20 Colorado, Florida, Georgia, Illinois, Nevada, New Jersey, Nevada, Ohio, South
                                                 21 Carolina, Texas, and Washington to Nintendo consumers during the applicable statute
                                                 22 of limitations periods, it is reasonable to presume that the members of the Classes are
                                                 23 so numerous that joinder of all members is impracticable. The disposition of their
                                                 24 claims in a class action is a superior method to individual actions and will provide
                                                 25 substantial benefits to the parties and the Court.
                                                 26         50.   Class Representatives will fairly and adequately protect the interests of
                                                 27 the members of the Classes because Class Representatives have no interests which are
                                                 28 adverse to the interest of absent class members and because Class Representatives have
                                                                                             - 19 -
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                                                 1    retained counsel who possess significant class action litigation experience regarding
                                                 2    alleged violations of consumer statutes.
                                                 3          51.    A class action is superior to other available methods of fair and efficient
                                                 4    adjudication of this controversy because individual litigation of each of the claims of
                                                 5    the members of the Classes is impracticable. Even if every Class member could afford
                                                 6    individual litigation, the court system could not. It would be unduly burdensome to
                                                 7    the courts in which individual litigation of numerous issues would proceed.
                                                 8    Individualized litigation would also present the potential for varying, inconsistent, or
                                                 9    contradictory judgments and would magnify the delay and expense to all parties and to
                                                 10 the court system resulting from multiple trials of the same complex factual issues. By
                                                 11 contrast, the conduct of this action as a class action presents fewer management
                                                 12 difficulties, conserves the resources of the parties and of the court system, and protects
                                                 13 the rights of each Class member.
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                                                 14         52.    The prosecution of separate actions by individual members of the Class
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                                                 15 would create a risk of adjudications with respect to them that would, as a practical
                                                 16 matter, be dispositive of the interests of the other Class members not parties to such
                                                 17 adjudications or that would substantially impair or impede the ability of such non-party
                                                 18 Class members to protect their interests.
                                                 19         53.    Defendant has acted or refused to act in respects generally applicable to
                                                 20 the Classes, thereby making appropriate final and injunctive relief with regard to the
                                                 21 members of the Classes as a whole.
                                                 22                               FIRST CAUSE OF ACTION
                                                 23                    CALIFORNIA UNFAIR COMPETITION LAW
                                                 24                      BUSINESS & PROFESSIONS CODE § 17200 et seq.

                                                 25           (On Behalf Of Mickelonis and Munoz And The California Class)
                                                 26         54.    Class Representatives repeat, re-allege, and incorporate by reference all
                                                 27 other paragraphs, as if fully set forth herein.
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                                                 1          55.    Mickelonis, Munoz and Defendant are each “person[s]” as defined by
                                                 2    California Business and Professions Code section 17201. California Business and
                                                 3    Professions Code section 17204 authorizes a private right of action on both an
                                                 4    individual and representative basis.
                                                 5          56.    “Unfair competition” is defined by Business and Professions code section
                                                 6    17200 as encompassing several types of business “wrongs,” four of which are at issue
                                                 7    here: (1) an “unlawful” business act or practice, (2) an “unfair” business act or practice,
                                                 8    (3) a “fraudulent business act or practice, and (4) “unfair, deceptive, untrue, or
                                                 9    misleading advertising.” The definitions in section 17200 are drafted in the disjunctive,
                                                 10 meaning that each of these “wrongs” operates independently from the others.
                                                 11         57.    A plaintiff is required to provide evidence of a causal connection between
                                                 12 a defendant’s business practices and the alleged harm–that is, evidence that the
                                                 13 defendant’s conduct caused or was likely to cause substantial injury. It is insufficient
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                                                 14 for a plaintiff to show merely that the defendant’s conduct created a risk of harm.
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                                                 15 Furthermore, the “act or practice” aspect of the statutory definition of unfair
                                                 16 competition covers any single act of misconduct, as well as ongoing misconduct.
                                                 17         58.    By and through Defendant’s conduct alleged above and in further detail
                                                 18 herein, Defendant engaged in conduct that constitutes unlawful, unfair, and/or
                                                 19 fraudulent business practices and advertising as prohibited by Bus. & Prof. Code §§
                                                 20 17200, et seq.
                                                 21                                          UNLAWFUL
                                                 22         59.    California Business and Professions code Section 17200, et seq. prohibits
                                                 23 “any unlawful…business act or practice.”
                                                 24         60.    As explained above, Defendant deceived, misled, and invaded the rights
                                                 25 of Class Representatives and other class members by representing that KOTOR II had
                                                 26 or would have content, characteristics and features that they did not have or intend to
                                                 27 have.
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                                                 1          61.    Beginning in or about April 2022 and continuing through the time of this
                                                 2    Complaint, Defendant committed acts of unfair competition, including those described
                                                 3    above, by engaging in a pattern of “unlawful” business practices, within the meaning
                                                 4    of Bus. & Prof. Code §§ 17200, et seq., by falsely representing that KOTOR II had or
                                                 5    would have content, features and characteristics that did not and would not have, in
                                                 6    violation of Cal. Civil Code § 1770 et seq., Bus. & Prof. Code §§ 17500, et seq.
                                                 7          62.    Defendant used false advertising, marketing, and misrepresentations to
                                                 8    induce Class Representatives and class members to buy and/or pay a higher price for
                                                 9    KOTOR II in violation of California Business and Professions Code Section 17500, et
                                                 10 seq. Had Defendant not falsely advertised, marketed, or misrepresented KOTOR II,
                                                 11 Class Representatives and class members would not have purchased KOTOR II or have
                                                 12 purchased alternative products. Defendant’s conduct therefore caused, and continues
                                                 13 to cause, economic harm to Class Representatives and class members.
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                                                 14         63.    Defendant has thus engaged in unlawful, unfair, and fraudulent business
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                                                 15 acts entitling Class Representatives and class members to judgment and equitable relief
                                                 16 against Defendant, as set forth in the Prayer for Relief. Additionally, pursuant to
                                                 17 Business and Professions Code section 17203, Class Representatives and class
                                                 18 members seek an order requiring Defendant to immediately cease such acts of
                                                 19 unlawful, unfair, and fraudulent business practices and requiring Defendant to correct
                                                 20 its actions.
                                                 21                                         UNFAIR
                                                 22         64.    Defendant has engaged in a pattern of “unfair” business practices in
                                                 23 violation of Bus. & Prof. Code §§ 17200, et seq., by manufacturing, distributing,
                                                 24 selling, and/or marketing the KOTOR II.
                                                 25         65.    The gravity of those misrepresentations outweighs any alleged benefits
                                                 26 attributable to such conduct; and such conduct is “unfair” because it offends established
                                                 27 public policy and/or is immoral, unethical, oppressive, unscrupulous, and/or
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                                                 1    substantially injurious to consumers, in that consumers are led to believe that the
                                                 2    KOTOR II has content, qualities and benefits which it does not have.
                                                 3          66.    California Business & Professions Code § 17200 prohibits any “unfair ...
                                                 4    business act or practice.”    Defendant’s acts, omissions, misrepresentations, and
                                                 5    practices as alleged herein also constitute “unfair” business acts and practices within
                                                 6    the meaning of the UCL in that its conduct is substantially injurious to purchasers,
                                                 7    offends public policy, and is immoral, unethical, oppressive, and unscrupulous as the
                                                 8    gravity of the conduct outweighs any alleged benefits attributable to such conduct.
                                                 9    There were reasonably available alternatives to further Defendant’s legitimate business
                                                 10 interests, other than the conduct described herein. Class Representatives reserve the
                                                 11 right to allege further conduct which constitutes other unfair business acts or practices.
                                                 12 Such conduct is ongoing and continues to this date.
                                                 13         67.    UCL cases have applied a variety of tests for what constitutes an “unfair”
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                                                 14 business practice. See Durrell v. Sharp HealthCare, 183 Cal. App. 4th 1350, 1365
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                                                 15 (2010). Here, the Class Representatives satisfy all three.
                                                 16         68.    The FTC test requires a purchaser to show that the injury: (1) is
                                                 17 substantial; (2) is not outweighed by any countervailing benefits to purchasers or
                                                 18 competition; and, (3) is not one that purchasers themselves could reasonably have
                                                 19 avoided.
                                                 20         69.    Here, Defendant’s conduct has caused and continues to cause substantial
                                                 21 injury to Class Representatives and class members. Class Representatives and class
                                                 22 members have suffered injury in fact and lost money due to Defendant’s decision to
                                                 23 sell KOTOR II even though it did not and would not have characteristics as advertised.
                                                 24 Accordingly, Class Representatives and class members were injured because they paid
                                                 25 money for a product that was of substantially less value than they reasonably believed,
                                                 26 and were denied the benefit of the bargain.
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                                                 1          70.    Such conduct involves equitable remedies in the form of a return of part
                                                 2    of the purchase price of the product. Thus, Defendant’s conduct has caused substantial
                                                 3    injury to Class Representatives and the class members.
                                                 4          71.    Another test for unfairness under the UCL is the antitrust test, which
                                                 5    analyzes whether the conduct “threatens an incipient violation of an antitrust law, or
                                                 6    violates the policy or spirit of one of those laws because it effects are comparable to or
                                                 7    the same as a violation of the law, or otherwise significantly threatens or harms
                                                 8    competition.” Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th
                                                 9    163, 187 (1999).
                                                 10         72.    By deceiving Class Representatives and members of the class into
                                                 11 purchasing KOTOR II under false pretenses, Defendant has gained an unfair advantage
                                                 12 in the marketplace and has hindered competition. Class members, including Class
                                                 13 Representatives, are stuck with a game that do not have the content they were marketed
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                                                 14 as having. As a result, Defendant has unfairly usurped the business of competitors,
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                                                 15 and artificially been able to sell and raise the price of KOTOR II.
                                                 16         73.    Defendant’s actions tend to harm competition in the gaming market by
                                                 17 reducing competition in the marketplace due to consumer perceived quality and content
                                                 18 of KOTOR II as a result of Defendant’s misrepresentations. Defendant’s
                                                 19 misrepresentations do not offer any countervailing benefit to the marketplace.
                                                 20         74.    A third test for determining unfairness under the UCL is a balancing test
                                                 21 as to whether the business practice is “immoral, unethical, oppressive, unscrupulous or
                                                 22 substantially injurious to consumers.” South Bay Chevrolet v. General Motors
                                                 23 Acceptance Corp., 72 Cal. App. 4th 861, 887 (1999).
                                                 24         75.    Here all of these factors weigh heavily in favor of this Court finding that
                                                 25 Defendant’s business practices are unfair.
                                                 26         76.    Defendant took advantage of the market and of consumers by
                                                 27 misrepresenting the content, characteristics and qualities of KOTOR II to the general
                                                 28 public, as discussed above. Such conduct is injurious to consumers insofar as it
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                                                 1    promises a product bearing certain characteristics, when in fact the product bears
                                                 2    characteristics that are inherently and facially of less value. Accordingly, consumers
                                                 3    were deprived of the benefit of the bargain of what they sought to purchase and
                                                 4    reasonably believed they had purchased at the point of sale. There is no moral, ethical,
                                                 5    or economic justification for this conduct, and it is inherently immoral and
                                                 6    unscrupulous for Defendant to have done this to its customers.
                                                 7          77.    In so doing, Defendant has acted immorally, unethically, oppressively,
                                                 8    unscrupulously, and has caused a substantial injury to consumers as detailed above.
                                                 9          78.    Class Representatives can use a benefit of the bargain approach, discrete
                                                 10 choice analysis, or other economically-sound methods of damage calculations to
                                                 11 ascertain the harm suffered by class members.
                                                 12         79.    Finally, the injury suffered by Class Representatives and class members
                                                 13 is not an injury that consumers could have reasonably avoided.
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                                                 14         80.    Thus, Defendant’s conduct has violated the “unfair” prong of California
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                                                 15 Business and Professions Code § 17200.
                                                 16                                      FRAUDULENT
                                                 17         81.    Beginning in or around 2022 and continuing through the time of this
                                                 18 Complaint, Defendant engaged in acts of unfair competition, including those described
                                                 19 herein, by engaging in a pattern of “fraudulent” business practices within the meaning
                                                 20 of Bus. & Prof. Code §§ 17200 et seq., by falsely representing that it would release
                                                 21 Restored Content DLC for KOTOR II.
                                                 22         82.    Class Representatives reserves the right to allege further conduct that
                                                 23 constitutes other fraudulent business acts or practices. Such conduct is ongoing and
                                                 24 continues to this date.
                                                 25               “UNFAIR, DECEPTIVE, UNTRUE, OR MISLEADING”
                                                 26         83.    Defendant’s practices are unfair, deceptive, untrue, or misleading in that
                                                 27 consumers are led to believe that Defendant would release Restored Content DLC for
                                                 28 KOTOR II.
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                                                 1          84.    Class Representatives and the public, as reasonable consumers, were
                                                 2    deceived and misled by Defendant’s conduct.
                                                 3          85.    Defendant’s unlawful, unfair, and fraudulent business practices, and
                                                 4    unfair, deceptive, untrue, and/or misleading advertising presents a continuing threat to
                                                 5    the public in that Defendant continue to falsely represent that KOTOR II will have
                                                 6    features that it will not have.
                                                 7          86.    Defendant engaged in these unlawful, unfair, and fraudulent business
                                                 8    practices, which were motivated solely by Defendant’s self-interest with the primary
                                                 9    purpose of collecting unlawful and unauthorized monies from Class Representatives
                                                 10 and all others similarly situated, thereby unjustly enriching Defendant.
                                                 11         87.    Such acts and omissions by Defendant is unlawful and/or unfair and/or
                                                 12 fraudulent and constitute violations of the Bus. & Prof. Code §§ 17200 et seq., Class
                                                 13 Representatives reserves the right to identify additional violations by Defendant as may
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                                                 14 be established through discovery.
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                                                 15         88.    As a direct and proximate result of the aforementioned acts and
                                                 16 representations, Defendant received and continue to receive unearned commercial
                                                 17 benefits at the expense of its competitors and the public.
                                                 18         89.    As a direct and proximate result of Defendant’s unlawful, unfair, and
                                                 19 fraudulent conduct described herein, Defendant has been and will continue to be
                                                 20 unjustly enriched by the receipt of ill-gotten gains from customers, including Class
                                                 21 Representatives and class members, who unwittingly provided money to Defendant as
                                                 22 a result of Defendant’s fraudulent misrepresentations.
                                                 23         90.    Class Representatives has suffered an “injury in fact” because Defendant
                                                 24 received Class Representatives’ money as a result of Defendant’s false representations.
                                                 25         91.    In prosecuting this action for the enforcement of important rights affecting
                                                 26 the public interest, Class Representatives seeks the recovery of attorneys’ fees, which
                                                 27 are available to prevailing plaintiffs in class action cases such as this.
                                                 28 ///
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                                                 1                                   SECOND CAUSE OF ACTION
                                                 2                          CALIFORNIA FALSE ADVERTISING LAW
                                                 3                               Business and Professions Code § 17500
                                                 4                (On Behalf Of Mickelonis and Munoz And The California Class)
                                                 5          92.    Class Representatives repeat, re-allege, and incorporate by reference all
                                                 6    other paragraphs, as if fully set forth herein.
                                                 7          93.    Mickelonis and Munoz bring this claim individually and on behalf of all
                                                 8    others similarly situated for Defendant’s violations of California’s False Advertising
                                                 9    Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.
                                                 10         94.    Under the FAL, the State of California makes it “unlawful for any person,
                                                 11 firm, corporation or association, or any employee thereof with intent directly or
                                                 12 indirectly to dispose of … personal property or to perform services… or anything of
                                                 13 any nature whatsoever or to induce the public to enter into any obligation relating
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                                                 14 thereto, to make or disseminate or cause to be made or disseminated before the public
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                                                 15 … in any other manner or means whatever, including over the Internet, any statement,
                                                 16 concerning that … personal property or those services … which is untrue or
                                                 17 misleading, and which is known, or which by the exercise of reasonable care should be
                                                 18 known, to be untrue or misleading[.]” Cal. Bus. & Prof. Code § 17500.
                                                 19         95.    Defendant knowingly engaged in a scheme of misrepresenting that
                                                 20 Restored Content DLC would be released for KOTOR II. Such practice misrepresented
                                                 21 the content, quality and characteristics of KOTOR II. Defendant knew or should have
                                                 22 known its conduct was unauthorized, inaccurate, and misleading.
                                                 23                               THIRD CAUSE OF ACTION
                                                 24                CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                                                 25                            California Civil Code §1770, et seq.
                                                 26            (On Behalf Of Mickelonis and Munoz And The California Class)
                                                 27         96.    Class Representative repeat, re-allege, and incorporate by reference all
                                                 28 other paragraphs, as if fully set forth herein.
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                                                 1          97.      Defendant’s actions as detailed above constitute a violation of the
                                                 2    Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code §1770 to the extent that
                                                 3    Defendant violated the following provisions of the CLRA:
                                                 4          a) Using deceptive representations in connection with goods or services. Cal.
                                                 5                Civ. Code §1770(a)(4).
                                                 6          b) Representing that goods or services have characteristics, ingredients, uses,
                                                 7                and benefits that they do not have. Cal. Civ. Code §1770(a)(5).
                                                 8          c) Representing that goods or services are of a particular standard, quality, or
                                                 9                grade, or that goods are of a particular style or model, if they are of another.
                                                 10               Cal. Civ. Code §1770(a)(7).
                                                 11         d) Advertising goods or services with intent not to sell them as advertised. Cal.
                                                 12               Civ. Code §1770(a)(9).
                                                 13         e) Advertising goods or services with intent not to supply reasonably
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                                                 14               expectable demand. Cal. Civ. Code §1770(a)(10).
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                                                 15         98.      On or about July 10, 2023, through his Counsel of record, using certified
                                                 16 mail with a return receipt requested, counsel for Class Representatives served
                                                 17 Defendant with notice of its violations of the CLRA (attached hereto as Exhibit A),
                                                 18 and asked that Defendant correct, repair, replace or otherwise rectify the goods and
                                                 19 services alleged to be in violation of consumer law; this correspondence advised
                                                 20 Defendant that it must take such action within thirty (30) calendar days, and pointed
                                                 21 Defendant to the provisions of the CLRA that Class Representatives believe to have
                                                 22 been violated by Defendant. Defendant refused to timely correct, repair, replace or
                                                 23 otherwise rectify the issues raised therein. Therefore, Class Representatives hereby
                                                 24 seek damages, including punitive damages, under the CLRA.
                                                 25         99.      Mickelonis concurrently files with this First Amended Class Action
                                                 26 Complaint an Affidavit of Venue pursuant to the CLRA.
                                                 27 ///
                                                 28 ///
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                                                 1                               FOURTH CAUSE OF ACTION
                                                 2                           ARIZONA CONSUMER FRAUD ACT
                                                 3                      Arizona Revised Statutes Section 44-1522, et seq.
                                                 4                       (On Behalf Of Gorka And The Arizona Class)
                                                 5          100. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 6    other paragraphs, as if fully set forth herein.
                                                 7          101. Gorka brings this claim individually and on behalf of all others similarly
                                                 8    situated for Defendant’s violations of Arizona Consumer Fraud Act (“ACFA”),
                                                 9    Arizona Revised Statutes Section 44-1522 et seq.
                                                 10         102. Under the ACFA, “the use or employment by any person of any deception,
                                                 11 deceptive or unfair act or practice, fraud, false pretense, false promise,
                                                 12 misrepresentation, or concealment, suppression or omission of any material fact with
                                                 13 intent that others rely on such concealment, suppression or omission, in connection
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                                                 14 with the sale or advertisement of any merchandise whether or not any person has in
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                                                 15 fact been misled, deceived or damaged thereby” is an unlawful practice.
                                                 16         103. Defendant knowingly engaged in a scheme of deceptively representing,
                                                 17 misrepresenting, and concealing material facts regarding the release of the Restored
                                                 18 Content DLC for KOTOR II. Such practice misrepresented, falsely promised, and
                                                 19 materially omitted facts regarding the content, quality and characteristics of KOTOR
                                                 20 II, including the Restored Content DLC. Defendant knew or should have known its
                                                 21 conduct was deceptive, unfair, false, and unlawful.
                                                 22         104. Gorka and the Arizona class members were misled, deceived, and
                                                 23 damaged by Defendant’s actions. Among other remedies, Gorka and the Arizona class
                                                 24 members are entitled to restitution and a disgorgement of profits and gains obtained as
                                                 25 a result of Defendant’s unlawful practices and damages, including punitive damages.
                                                 26                                FIFTH CAUSE OF ACTION
                                                 27                        COLORADO CONSUMER FRAUD ACT
                                                 28                           Colorado Code Section 6-1-105, et seq.
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                                                 1                   (On Behalf Of Nolan, Villa And The Colorado Class)
                                                 2          105. Class Representative repeat, re-allege, and incorporate by reference all
                                                 3    other paragraphs, as if fully set forth herein.
                                                 4          106. Defendant’s actions as detailed above constitute a violation of the
                                                 5    Colorado Consumer Protection Act (“CCPA”), CO Code § 6-1-105 to the extent that
                                                 6    Defendant violated the following provisions of the CCPA:
                                                 7          a) Using deceptive representations in connection with goods or services. CO
                                                 8              Code § 6-1-105(1)(d).
                                                 9          b) Representing that goods or services have characteristics, ingredients, uses,
                                                 10             and benefits that they do not have. CO Code § 6-1-105(1)(e).
                                                 11         c) Representing that goods or services are of a particular standard, quality, or
                                                 12             grade, or that goods are of a particular style or model, if they are of another.
                                                 13             CO Code § 6-1-105(1)(g).
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                                                 14         d) Advertising goods or services with intent not to sell them as advertised. CO
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                                                 15             Code § 6-1-105(1)(i).
                                                 16         e) Advertising goods or services with intent not to supply reasonably
                                                 17             expectable demand. CO Code § 6-1-105(1)(j).
                                                 18         f) Failing to disclose material information concerning KOTOR II, which
                                                 19             information was known at the time of Defendant’s advertisements and sales,
                                                 20             to induce consumers to purchase KOTOR II. CO Code § 6-1-105(1)(v).
                                                 21         107. Nolan, Villa and the Colorado Class were injured and suffered damages
                                                 22 as a result of Defendant’s violations of the CCPA. Nolan and Villa and Colorado class
                                                 23 members seek statutory damages of five-hundred dollars ($500.00) and/or actual
                                                 24 damages as provided by the CCPA, injunctive relief, and reasonable attorneys’ fees
                                                 25 and costs.
                                                 26                                SIXTH CAUSE OF ACTION
                                                 27         FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                                                 28                              Florida Statutes § 501.204, et seq.
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                                                 1                (On Behalf Of Afilani, Phillips, Yee And The Florida Class)
                                                 2          108. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 3    other paragraphs, as if fully set forth herein.
                                                 4          109. Afilani, Phillips and Yee bring this claim individually and on behalf of all
                                                 5    others similarly situated for Defendant’s violations of Florida Deceptive and Unfair
                                                 6    Trade Practices Act (“FDUTPA”), Florida Statutes § 501.204 et seq.
                                                 7          110. Under the FDUTPA, “unfair or deceptive acts or practices in the conduct
                                                 8    of any trade or commerce are … unlawful.”
                                                 9          111. Defendant knowingly engaged in a scheme of deceptively representing,
                                                 10 misrepresenting, and concealing material facts regarding the release of the Restored
                                                 11 Content DLC for KOTOR II. Such practice misrepresented, falsely promised, and
                                                 12 materially omitted facts regarding the content, quality and characteristics of KOTOR
                                                 13 II. Defendant knew or should have known its conduct was deceptive, unfair, false, and
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                                                 14 unlawful, and likely to deceive consumers.
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                                                 15         112. Afilani, Phillips, Yee and the Florida class members were misled,
                                                 16 deceived, and damaged by Defendant’s actions. Among other remedies, Afilani ,
                                                 17 Phillips, Yee and the Florida class members are entitled to restitution, actual damages,
                                                 18 and civil penalties for each violation of the FDUTPA.
                                                 19                             SEVENTH CAUSE OF ACTION
                                                 20                    GEORGIA FAIR BUSINESS PRACTICES ACT
                                                 21                           Georgia Code Section 10-1-393, et seq.
                                                 22                      (On Behalf Of Palmer And The Georgia Class)
                                                 23         113. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 24 other paragraphs, as if fully set forth herein.
                                                 25         114. Palmer brings this claim individually and on behalf of all others similarly
                                                 26 situated for Defendant’s violations of the Georgia Fair Business Practices Act
                                                 27 (“GFBPA”), Georgia Code Section 10-1-393 et seq.
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                                                                         FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1          115. Defendant’s actions as detailed above constitute a violation of the GFBPA
                                                 2    to the extent that Defendant violated the following provisions of the GFBPA:
                                                 3          a) Using deceptive representations in connection with goods or services. Ga.
                                                 4             Code Ann. § 10-1-393(a)(4).
                                                 5          b) Representing that goods or services have characteristics, ingredients, uses,
                                                 6             and benefits that they do not have. Ga. Code Ann. § 10-1-393(a)(5).
                                                 7          c) Representing that goods or services are of a particular standard, quality, or
                                                 8             grade, or that goods are of a particular style or model, if they are of another.
                                                 9             Ga. Code Ann. § 10-1-393(a)(7).
                                                 10         d) Advertising goods or services with intent not to sell them as advertised. Ga.
                                                 11            Code Ann. § 10-1-393(a)(9).
                                                 12         e) Advertising goods or services with intent not to supply reasonably
                                                 13            expectable demand. Ga. Code Ann. § 10-1-393(a)(10).
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                                                 14         116. Palmer and Georgia class members were misled, deceived, and damaged
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                                                 15 by Defendant’s actions. Among other remedies, Palmer and Georgia class members
                                                 16 are entitled to restitution, actual damages, and exemplary damages under the GFBPA.
                                                 17                             EIGHTH CAUSE OF ACTION
                                                 18                  NEVADA DECEPTIVE TRADE PRACTICES ACT
                                                 19                         Nev. Rev. Stat. Ann. § 598.0915, et seq.
                                                 20                       (On Behalf Of Sousa and the Nevada Class)
                                                 21         117. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 22 other paragraphs, as if fully set forth herein.
                                                 23         118. Sousa brings this claim individually and on behalf of all others similarly
                                                 24 situated for Defendant’s violations of Nevada Deceptive Trade Practices Act
                                                 25 (“NDTPA”), Nev. Rev. Stat. Ann. § 598.0915, et seq.
                                                 26         119. Defendant’s actions as detailed above constitute a violation of the NDTPA
                                                 27 to the extent that Defendant violated the following provisions of the NDTPA:
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                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
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                                                 1          a) Using deceptive representations in connection with goods or services. Nev.
                                                 2             Rev. Stat. Ann. § 598.0915(4).
                                                 3          b) Representing that goods or services have characteristics, ingredients, uses,
                                                 4             and benefits that they do not have. Nev. Rev. Stat. Ann. § 598.0915(5).
                                                 5          c) Representing that goods or services are of a particular standard, quality, or
                                                 6             grade, if they are of another. Nev. Rev. Stat. Ann. § 598.0915(7).
                                                 7          d) Advertising goods or services with intent not to sell them as advertised. Nev.
                                                 8             Rev. Stat. Ann. § 598.0915(9).
                                                 9          e) Advertising goods or services with intent not to supply reasonably
                                                 10            expectable demand. Nev. Rev. Stat. Ann. § 598.0915(10).
                                                 11         f) Knowingly making a false representation in a transaction. Nev. Rev. Stat.
                                                 12            Ann. § 598.0915(15).
                                                 13         120. Sousa and Nevada class members were misled, deceived, and damaged
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                                                 14 by Defendant’s actions. Among other remedies, Sousa and Nevada class members are
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                                                 15 entitled to restitution, damages, and equitable relief under the NDTPA.
                                                 16                              NINTH CAUSE OF ACTION
                                                 17                       NEW JERSEY CONSUMER FRAUD ACT
                                                 18                              N.J. Stat. Ann. § 56:8-2, et seq.
                                                 19                   (On Behalf Of Vazquez and the New Jersey Class)
                                                 20         121. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 21 other paragraphs, as if fully set forth herein.
                                                 22         122. Vazquez brings this claim individually and on behalf of all others
                                                 23 similarly situated for Defendant’s violations of New Jersey Consumer Fraud Act
                                                 24 (“CFA”), N.J. Stat. Ann. § 56:8-2, et seq.
                                                 25         123. Under the CFA, “[t]he act, use or employment by any person of any
                                                 26 commercial practice that is unconscionable or abusive, deception, fraud, false pretense,
                                                 27 false promise, misrepresentation, or the knowing, concealment, suppression, or
                                                 28 omission of any material fact with intent that others rely upon such concealment,
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                                                 1    suppression or omission, in connection with the sale or advertisement of any
                                                 2    merchandise … whether or not any person has in fact been misled, deceived or
                                                 3    damaged thereby” is an unlawful practice.
                                                 4          124. Defendant knowingly engaged in a scheme of deceptively representing,
                                                 5    misrepresenting, and concealing material facts regarding the Restored Content DLC
                                                 6    for KOTOR II. Such practices misrepresented, falsely promised, and materially
                                                 7    omitted facts regarding the content, quality and characteristics of KOTOR II.
                                                 8    Defendant knew or should have known its conduct was deceptive, unfair, false, and
                                                 9    unlawful.
                                                 10         125. Vazquez and the New Jersey class members were misled, deceived, and
                                                 11 damaged by Defendant’s actions. Among other remedies, Vazquez and the New Jersey
                                                 12 class members seek damages, including treble damages, as a result of Defendant’s
                                                 13 unlawful practices.
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                                                 14                              TENTH CAUSE OF ACTION
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                                                 15                     OHIO CONSUMER SALES PRACTICES ACT
                                                 16                          Ohio Rev. Code Ann. § 1345.02, et seq.
                                                 17                     (On Behalf Of Niedermeier And The Ohio Class)
                                                 18         126. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 19 other paragraphs, as if fully set forth herein.
                                                 20         127. Niedermeier brings this claim individually and on behalf of all others
                                                 21 similarly situated for Defendant’s violations of Ohio Consumer Sales Practices Act
                                                 22 (“OCSPA”), Ohio Rev. Code Ann. § 1345.02 et seq.
                                                 23         128. Defendant’s actions as detailed above constitute an unfair and/or
                                                 24 deceptive act that violates the OCSPA, including the following provisions of the
                                                 25 OCSPA:
                                                 26         a) Using deceptive representations in connection with goods or services. Ohio
                                                 27               Rev. Code Ann. § 1345.02(A).
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                                                 1          b) Representing that the subject of a consumer transaction has performance
                                                 2             characteristics, accessories, uses, or benefits that it does not have. Ohio Rev.
                                                 3             Code Ann. § 1345.02(B)(1).
                                                 4          c) Representing that the subject of a consumer transaction is of a particular
                                                 5             standard, quality, grade, style, prescription, or model, if it is not. Ohio Rev.
                                                 6             Code Ann. § 1345.02(B)(2).
                                                 7          d) Representing that the subject of a consumer transaction is available to the
                                                 8             consumer for a reason that does not exist.          Ohio Rev. Code Ann. §
                                                 9             1345.02(B)(4).
                                                 10         129. Niedermeier and Ohio class members were misled, deceived, and
                                                 11 damaged by Defendant’s actions. Among other remedies, Niedermeier and Ohio class
                                                 12 members seek actual damages and/or noneconomic damages of five-thousand dollars
                                                 13 under the OCSPA.
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                                                 14                           ELEVENTH CAUSE OF ACTION
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                                                 15                  OREGON UNLAWFUL TRADE PRACTICES ACT
                                                 16                           Or. Rev. Stat. Ann. § 646.607, et seq.
                                                 17                  (On Behalf Of Alva-Melville And The Oregon Class)
                                                 18         130. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 19 other paragraphs, as if fully set forth herein.
                                                 20         131. Alva-Melville brings this claim individually and on behalf of all others
                                                 21 similarly situated for Defendant’s violations of Oregon Unlawful Trade Practices Act
                                                 22 (“UTPA”), Or. Rev. Stat. Ann. § 646.607, et seq.
                                                 23         132. Defendant’s actions as detailed above constitute an unfair and/or
                                                 24 deceptive act that violates the UTPA, including the following provisions of the UTPA:
                                                 25         a) Using deceptive representations in connection with goods or services. Or.
                                                 26            Rev. Stat. Ann. § 646.608(1)(d).
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                                                 1          b) Representing that goods or services have characteristics, ingredients, uses,
                                                 2             benefits, quantities or qualities that the goods or services do not have. Or.
                                                 3             Rev. Stat. Ann. § 646.608(1)(e).
                                                 4          c) Representing that goods or services are of a particular standard or quality.
                                                 5             Or. Rev. Stat. Ann. § 646.608(1)(g).
                                                 6          d) Advertising goods or services with intent not to provide the goods or services
                                                 7             as advertised. Or. Rev. Stat. Ann. § 646.608(1)(i).
                                                 8          e) Promising to deliver goods or services within a certain period of time with
                                                 9             intent not to deliver the goods or services as promised. Or. Rev. Stat. Ann. §
                                                 10            646.608(1)(q).
                                                 11         f) Engaging in unfair or deceptive conduct in trade or commerce. Or. Rev. Stat.
                                                 12            Ann. § 646.608(1)(u).
                                                 13         133. Alva-Melville and Oregon class members were misled, deceived, and
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                                                 14 damaged by Defendant’s actions. Among other remedies, Alva-Melville and Oregon
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                                                 15 class members seek actual damages or statutory damages of $200.00, whichever is
                                                 16 greater, punitive damages and equitable relief, under the UTPA.
                                                 17                             TWELFTH CAUSE OF ACTION
                                                 18              SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                                                 19                                 St. S.C. § 39-5-20, et seq.
                                                 20                 (On Behalf Of Hilliard and the South Carolina Class)
                                                 21         134. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 22 other paragraphs, as if fully set forth herein.
                                                 23         135. Hilliard brings this claim individually and on behalf of all others similarly
                                                 24 situated for Defendant’s violations of South Carolina Unfair Trade Practices Act
                                                 25 (“UTPA”), St. S.C. § 39-5-20, et seq.
                                                 26         136. Under the UTPA, “[u]nfair methods of competition and unfair or
                                                 27 deceptive acts or practices in the conduct of any trade or commerce are … unlawful.”
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                                                 1          137. Defendant knowingly engaged in a scheme of deceptively advertising,
                                                 2    misrepresenting, and concealing material facts regarding the Restored Content DLC
                                                 3    for KOTOR II. Such practices misrepresented, falsely advertised, and materially
                                                 4    omitted facts regarding the content, quality and characteristics of KOTOR II.
                                                 5    Defendant knew or should have known its conduct was deceptive, unfair, false, and
                                                 6    unlawful.
                                                 7          138. Hilliard and the South Carolina class members were misled, deceived, and
                                                 8    damaged by Defendant’s actions. Among other remedies, Hilliard and the South
                                                 9    Carolina class members seek damages and civil penalties as a result of Defendant’s
                                                 10 unlawful practices.
                                                 11                           THIRTEENTH CAUSE OF ACTION
                                                 12                     TEXAS DECEPTIVE TRADE PRACTICES ACT
                                                 13                        Tex. Bus. & Com. Code Ann. § 17.46, et seq.
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                                                 14                  (On Behalf Of Kirkland, Mueller, and the Texas Class)
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                                                 15         139. Class Representatives repeat, re-allege, and incorporate by reference all
                                                 16 other paragraphs, as if fully set forth herein.
                                                 17         140. Kirkland and Mueller bring this claim individually and on behalf of all
                                                 18 others similarly situated for Defendant’s violations of Texas Deceptive Trade Practices
                                                 19 Act (“DTPA”), Tex. Bus. & Com. Code Ann. § 17.46, et seq.
                                                 20         141. Defendant’s actions as detailed above constitute an unfair and/or
                                                 21 deceptive act that violates the DTPA, including the following provisions of the DTPA:
                                                 22         a) Using deceptive representations in connection with goods or services. Tex.
                                                 23               Bus. & Com. Code Ann. § 17.46(b)(4).
                                                 24         b) Representing that goods or services have characteristics, uses, or benefits
                                                 25               which they do not have. Tex. Bus. & Com. Code Ann. § 17.46(b)(5).
                                                 26         c) Representing that goods are of a particular standard, quality, or grade if they
                                                 27               are not. Tex. Bus. & Com. Code Ann. § 17.46(b)(7).
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                                                 1          d) Advertising goods or services with intent not to sell them as advertised. Tex.
                                                 2              Bus. & Com. Code Ann. § 17.46(b)(9).
                                                 3          e) Failing to disclose information concerning goods or services which was
                                                 4              known at the time of the transaction to induce the consumer into the
                                                 5              transaction. Tex. Bus. & Com. Code Ann. § 17.46(b)(24).
                                                 6          142. Kirkland, Mueller and the Texas class members relied on Defendant’s
                                                 7    representations about the Restored Content DLC and were misled, deceived, and
                                                 8    damaged by Defendant’s actions. Among other remedies, Kirkland, Mueller and the
                                                 9    Texas class members seek actual damages under the DTPA.
                                                 10                         FOURTEENTH CAUSE OF ACTION
                                                 11                  WASHINGTON CONSUMER PROTECTION ACT
                                                 12                                 St. S.C. § 39-5-20, et seq.
                                                 13                    (On Behalf Of Flores and the Washington Class)
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                                                 14         143. Class Representatives repeat, re-allege, and incorporate by reference all
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                                                 15 other paragraphs, as if fully set forth herein.
                                                 16         144. Flores brings this claim individually and on behalf of all others similarly
                                                 17 situated for Defendant’s violations of the Washington Consumer Protection Act
                                                 18 (“CPA”), Wash. Rev. Code Ann. § 19.86.020 (West), et seq.
                                                 19         145. Under the CPA, “[u]nfair methods of competition and unfair or deceptive
                                                 20 acts or practices in the conduct of any trade or commerce are … unlawful.”
                                                 21         146. Defendant knowingly engaged in a scheme of deceptively advertising,
                                                 22 misrepresenting, and concealing material facts regarding the Restored Content DLC
                                                 23 for KOTOR II. Such practices misrepresented, falsely advertised, and materially
                                                 24 omitted facts regarding the content, quality and characteristics of KOTOR II.
                                                 25 Defendant knew or should have known its conduct was deceptive, unfair, false, and
                                                 26 unlawful.
                                                 27         147. Flores and the Washington class members were misled, deceived, and
                                                 28 damaged by Defendant’s actions. Among other remedies, Flores and the Washington
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                                                 1    class members seek damages and treble damages as a result of Defendant’s unlawful
                                                 2    practices.
                                                 3                                    PRAYER FOR RELIEF
                                                 4          WHEREFORE, Class Representatives, individually and on behalf of all others
                                                 5    similarly situated, prays for judgment against the Defendant as follows:
                                                 6          A.       For an order awarding, as appropriate, restitution, statutory damages,
                                                 7    actual damages, civil penalties and punitive damages to the Class Representatives and
                                                 8    the Classes;
                                                 9          B.       For an order certifying this case as a class action and appointing Class
                                                 10 Representatives and Class Representatives’ counsel to represent the Classes;
                                                 11         C.       For an order that the Court certify Class Representatives to serve as the
                                                 12 class representatives in this matter;
                                                 13         D.       For an order that Defendant’s wrongful conduct alleged herein be
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                                                 14 adjudged and decreed to violate the claims asserted herein;
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                                                 15         E.       For an order requiring Defendant to immediately cease and desist from
                                                 16 selling and distributing KOTOR II with the deceptive and false advertising as set forth
                                                 17 above, and enjoining Defendant from continuing to deliver, market, advertise,
                                                 18 distribute, and sell KOTOR II in the unlawful, unfair, and deceptive manner described
                                                 19 herein;
                                                 20         F.       For an order awarding attorneys’ fees and costs;
                                                 21         G.       For an order awarding pre-judgment and post-judgment interest; and
                                                 22         H.       For such other and further relief as this Court find just, equitable and
                                                 23 proper, including, but not limited to, the remedy of disgorgement.
                                                 24                                       TRIAL BY JURY
                                                 25         Pursuant to the Seventh Amendment to the Constitution of the United States of
                                                 26 America, Class Representatives and members of the Class are entitled to, and
                                                 27 demand, a trial by jury.
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                                                 1
                                                 2    Dated: October 25, 2023        RAY KIM LAW, APC
                                                 3
                                                 4                                   /s/ Raymond Y. Kim
                                                                                     Raymond Y. Kim
                                                 5                                   Attorneys for Plaintiffs
                                                                                     Malachi Mickelonis, Joseph Afilani,
                                                 6                                   Jacob Alva-Melville, Micaiah, Flores,
                                                                                     Matthew Gorka, Jared Hilliard,
                                                 7                                   Charles Kirk, David Kirkland,
                                                                                     Yale Liebowitz, Jacob Mueller,
                                                 8                                   Kevin Munoz, Colebie Niedermeier,
                                                                                     Joshua Palmer, Bryce Phillips, Christopher
                                                 9                                   Sousa, Rolando Vazquez, Adrian Villa,
                                                                                     and Nicholas Yee
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                                                 1                  EXHIBIT A
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                                                                                                  Raymond Y. Kim
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                                                                                               Ray@raykimlaw.com


   July 8, 2023
   Via Certified U.S. Mail

   Aspyr Media, Inc.
   1250 S. Capital of Texas Hwy.
   Building 1, Suite 650
   Austin, TX 78746

   RE:     Malachi Mickelonis – Confidential Settlement Communication Pursuant to FRE 408 and
           CEC 1152
   To Whom It May Concern:
           Please be advised that our office represents Malachi Mickelonis (“Plaintiff”), and other
   similarly situated individuals, in pursuing class action wide legal claims against Aspyr Media, Inc.
   (“Aspyr”) and Saber Interactive, Inc. (“Saber”) (together “Defendants”) for violations of the
   Consumer Legal Remedies Act (“CLRA”), California Business and Professions Code §17200
   (“UCL”), and California Business and Professions Code § 17500 (“FAL”).

            Having been formally notified of our representation, we respectfully demand that you not
   contact our client for any reason. Instead, please direct all future contact and correspondence to
   this office. We reserve the right to seek injunctive relief against you should you fail to honor these
   directives.

           The purpose of this letter is to advise your company of its violations and to quickly resolve
   the matter of my client’s right to compensation for the same, without resorting to expensive and
   unnecessary litigation. Before additional damages accrue, including needless attorneys’ fees, we
   should work together expeditiously to correct the inequity that occurred in connection with your
   company’s handling of the matters detailed below. Thus, please accept this correspondence as
   notice pursuant to the CLRA, of violations thereof. Be advised, you have thirty (30) calendar days
   from the date of receipt of this notice, to correct, repair, replace, or otherwise rectify the goods or
   services alleged to be in violation of § 1770 of the CLRA, as further outlined below.

          Please review the violations set forth below and contact our offices immediately, to discuss
   settlement.

   Facts

           In 2022, Aspyr and Saber advertised KOTOR to users of the video console Nintendo
   Switch as having never-before released “Restored Content DLC,” or new downloadable content
   providing new gaming content for users. See Youtube, STAR WARS™: Knights of the Old
   Republic™ II: The Sith Lords - Announcement Trailer - Nintendo Switch, available at
   https://www.youtube.com/watch?v=rEhYnI1MqxI (last visited on July 7, 2023); Nintendo, STAR
   WARS™: Knights of the Old Republic™ II: The Sith Lords, available at
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   https://www.nintendo.com/store/products/star-wars-knights-of-the-old-republic-ii-the-sith-lords-
   switch/ (last visited on June 11, 2023).




          Defendants even tweeted about their upcoming release of the Restored Content DLC.
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          In 2022, Plaintiff saw Defendants’ advertisements about KOTOR and was drawn by the
   Restored Content DLC. As a result, in November 2022 Plaintiff purchased KOTOR. Plaintiff and
   numerous other consumers were excited about the new content that Defendants claimed was
   “coming soon.” In fact, KOTOR sat at the top of Nintendo’s e-Shop rankings.

           On or about June 2, 2023, Defendants announced that they will not release the highly
   anticipated Restored Content DLC for KOTOR:




           Plaintiff felt completely duped and was upset because he had relied on Defendants’
   representations that the Restored Content DLC would be released for KOTOR. In fact, Plaintiff
   did not even play KOTOR after purchasing it, instead choosing to wait until the Restored Content
   DLC was released. But Defendants never did. Plaintiff would potentially be interested in
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   purchasing other games with Restored Content DLC from Defendants’ in the future if they have
   the advertised content, are not deceptively advertised, and accordingly priced at fair market value
   without being artificially inflated due to the deceptive advertising.

          Despite their failure to release KOTOR’s Restored Content DLC, Defendants refused to
   give refunds to purchasers of KOTOR. Other consumers, like Plaintiff, were equally upset as
   evidenced by posts found on Twitter and YouTube:
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           When Plaintiff purchased KOTOR he believed that he was purchasing a game with
   Restored Content DLC. Plaintiff was deceived as a result of Aspyr and Saber’s actions. In fact,
   Plaintiff would not have purchased KOTOR if it were not for the misrepresentations of the
   aforementioned material facts. The purchasing decision was the result of the misleading,
   deceptive, and false representations made by Defendants.

   CLRA (Cal. Civ. Code §1750 et seq.) Violations

           Among other things, the CLRA prohibits the following “unfair methods of competition and
   unfair or deceptive acts or practices undertaken by any person in a transaction to result or which
   results in the sale or lease of goods or services” to a consumer:

      1. Using deceptive representations in connection with goods or services. Cal. Civ. Code
         §1770(a)(4).

      2. Representing that goods or services have characteristics, ingredients, uses, and benefits that
         they do not have. Cal. Civ. Code §1770(a)(5).

      3. Representing that goods or services are of a particular standard, quality, or grade, or that
         goods are of a particular style or model, if they are of another. Cal. Civ. Code §1770(a)(7).

      4.    Advertising goods or services with intent not to sell them as advertised. Cal. Civ. Code
           §1770(a)(9).

      5.   Advertising goods or services with intent not to supply reasonably expectable demand.
           Civ. Code §1770(a)(10).

           Further, under the CLRA, a consumer may recover actual damages, an order enjoining any
   such practices that are prohibited by the CLRA, restitution of property, punitive damages, civil
   penalties, and reasonably attorney’s fees and costs. Cal. Civ. Code §§1780, et seq.

           By engaging in the conduct detailed above, Aspyr violated Sections §1770(a)(4), (5), (7),
   (9), and (10) of the CLRA, thereby entitling Plaintiff to actual and punitive damages, and attorney’s
   fees and costs.

   Unfair Competition Law (Cal. Bus. Prof. Code §17200)

          The Unfair Competition Law, Cal. Bus. Prof. C. §17200 prohibits unlawful, unfair or
   fraudulent business acts or practices. Further, any person may bring an action to enjoin or restrain
   any violation of this act and is entitled to restitution resulting from such violations. Cal. Bus. Prof.
   Code § 17203.

            Defendants engaged in fraudulent, unfair and unlawful business practices through its
   conduct and violated the UCL. Defendants made misleading representations, and omitted material
   facts, to Plaintiff that its products had qualities and features that it did not have, and this amounts
   to fraudulent and unfair business practices. Further, as noted above, Defendants violated the
   CLRA, thus engaging in unlawful business practices. Defendants’ conduct, as detailed above,
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   violates numerous provisions of the CLRA; consequently, said conduct constitutes unlawful
   business practices. Defendants’ conduct entitles Plaintiff to restitution and injunctive relief.

   Class Potential

           At this stage, Aspyr’s fraudulent and deceptive business practices, and violations of
   California law, have impacted thousands of consumers throughout the state of California and/or
   the nation. Thus, we anticipate either a state and/or nation-wide class of thousands of consumers
   whom Malachi Mickelonis will more than adequately represent. The conduct detailed above is
   systematic in nature. Thus, certifying a class will be very straightforward. Upon certifying a class,
   we will seek not only restitution and actual damages, but also punitive damages and statutory
   damages, in addition to attorney’s fees and costs. Aspyr is facing seven-figure liability, at the very
   least.

   Sincerely,




   Raymond Y. Kim
   Attorney at Law
